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To Whom It May Concern

~ In 1997, Lled-a rion-profit organization based in Dayton, OH, called
RwandaHope. Our purpese was to help Rwandan refugees coming to the
' United States, buit-also these who were in many other countries in Africa.

_We-also helped internally displaced Rwandans, who could not return to
theit home villages.

impressed that he remained focused to his studies, given the limited

amount of support we were able to provide to ihem, and. multitude .
roblems his:family had encountered. | was greatly imptessed to see that
Mr. ‘Teganya cornpléted a 2 year degree in only 18 months.
After-he gettled in Canada, | learned that Mr. Teganya was able to finda
_Job-and got promoted regularly. He got married and together with his wife;

oe Mee: YIADS, py
Leotard Uwfirfgiyimana —
t; ZION Temple Celebration Gehter - Atlanta

they have:two children that they are raising as a devoted and loving couple.

inde for Mr. Tegariya to pursue a graduate degree ih indian 1998,
6 he: was. adiitted to. a. Master's program in'Economies.. During his OSL pole
ng:in India; + communicated with Mr, Teganya several times and{ was.

